                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

EQUAL EMPLOYMENT OPPORTUNITY   :
COMMISSION,                    :
                               :
          Plaintiff,           :
                               : Civil Action No. 3:21-cv-753
v.                             :
                               : JUDGE CRENSHAW
THE WHITING-TURNER CONTRACTING : Magistrate Judge Newbern
COMPANY,                       :
                               :
          Defendant.           :


                  NOTICE OF APPEARANCE ON BEHALF OF DEFENDANT
                   THE WHITING-TURNER CONTRACTING COMPANY

         Undersigned counsel gives notice of his appearance on behalf of Defendant The Whiting-

Turner Contracting Company, along with Charles K. Grant and Baker Donelson Bearman

Caldwell & Berkowitz, PC.

                                            Respectfully submitted,

                                            /s/ Denmark J. Grant
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                                           Attorneys for Defendant




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 4, 2022, I electronically filed the foregoing Notice
of Appearance with the Clerk of the Court using the CM/ECF system, which will serve electronic
notice to the following parties of record:

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                                           /s/ Denmark J. Grant
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